    Case 12-16623-elf         Doc 40
                                  Filed 08/27/13 Entered 08/28/13 11:08:41 Desc Main
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           Case 12-16623-elf Doc 35-1 Filed 06/05/13 Entered 06/05/13 19:09:00 Desc
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                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       JOHN SCHICKLING                                Chapter 13


                               Debtor                 Bankruptcy No. 12-16623-ELF


                                     Order Dismissing Chapter 13 Case and
                                  Directing Counsel to File Master Mailing List

       AND NOW, this                       day of                            , 2013, upon consideration of the Motion to
Dismiss filed by William C. Miller, standing trustee, this case is dismissed and it is further ORDERED, that
counsel for the debtor, shall file a master mailing list with the clerk of the Bankruptcy Court, currently updated (if
such has not been previously filed); and it is further

       ORDERED, that any wage orde

                                                                      t^ y     ' ^    \
                                                      Eric L. Frank
                                                      Bankruptcy Judge

William C. Miller, Trustee
P.O. Box 40119
Philadelphia, PA 19106-0119

Debtor's Attorney:
CIBIK&CATALDO
1500 WALNUT ST
SUITE 900
PHILADELPHIA, PA 19102-



Debtor:
JOHN SCHICKLING

623 SAINT JAMES COURT
LANGHORNE, PA 19047
